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 5

 6    Attorneys for Plaintiff
      DOMINIC RAY VARGAS
 7

 8                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
 9                              EASTERN DIVISION
10

11     DOMINIC RAY VARGAS, an             ) CASE NO.: 5:18-cv-00946-MWF
      individual,                         )
12                                        ) SECOND AMENDED COMPLAINT FOR
                                          ) DAMAGES
13                   Plaintiffs,          )
              vs.                         )   1. EXCESSIVE FORCE (42 USC §
14                                        )       1983);
                                          )   2. EXCESSIVE FORCE—FAILURE
15    COUNTY OF SAN BERNARDINO, a )               TO TRAIN (42 USC § 1983);
      public entity; SAN BERNARDINO       )   3. EXCESSIVE FORCE—
16                                        )       SUPERVISOR LIABILITY IN
      COUNTY SHERIFF’S                    )       INDIVIDUAL CAPACITY;
17    DEPARTMENT, a public entity; JOHN )     4. EXCESSIVE FORCE – MUNICIPAL
      McMAHON, an individual, and in his )        LIABILITY (42 USC § 1983);
18
      official capacity as San Bernardino )   5.  ASSAULT;
                                          )   6.  BATTERY;
19    County Sheriff, and; DOES 1-10,     )   7. BATTERY BY PEACE OFFICER;
      inclusive,                          )   8. NEGLIGENCE;
20                                        )   9. INTENTIONAL INFLICTION OF
                     Defendants.          )       EMOTIONAL DISTRESS;
21                                        )   10. NEGLIGENT HIRING, TRAINING,
                                          )       AND RETENTION
22                                        )
                                          )
23                                        )   DEMAND FOR JURY TRIAL
                                          )
24                                        )
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                                SECOND AMENDED COMPLAINT
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 1
             COMES NOW Plaintiff, Dominic Ray Vargas (hereinafter “Plaintiff” or

 2    “PLAINTIFF”) on behalf of himself, by and through his counsel of record, The Blue Law
 3
      Group, on information and belief, and hereby complains, avers, and thereon alleges as
 4
      follows:
 5

 6                                  JURISDICTION AND VENUE
 7
      1.     This Court has original jurisdiction over the claims of this action, based on 28
 8
      U.S.C. §§1331, 1343, and 42 U.S.C. §1983, which confer original jurisdiction on US
 9

10    District Courts to address the deprivation of rights secured by Federal law. This Court has
11
      supplemental jurisdiction over the pendant claims pursuant to the laws of the State of
12
      California, because part of the same case or controversy under Article III of the United
13

14    States Constitution, pursuant to 12 U.S.C. §1367.
15    2.     The venue is proper in this District, pursuant to 28 U.S.C. 1391(b) and (e), in that
16
      all parties reside in the Central District.
17

18                                            THE PARTIES

19    3.     At all times relevant herein, PLAINTIFF was a resident of the County of San
20
      Bernardino, California.
21

22
      4.     At all times relevant herein, Defendant COUNTY OF SAN BERNARDINO,

23    (hereinafter “County” or “COUNTY”) is and was a public entity, duly organized and
24
      existing under and by virtue of the laws of the State of California, and/or a municipality
25
      or political subdivision of the State of California.
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                                       SECOND AMENDED COMPLAINT
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 1
      5.     At all times relevant herein, Defendant SHERIFF’S DEPARTMENT FOR THE

 2    COUNTY OF SAN BERNARDINO (hereinafter “SBCSD”) was a public entity, duly
 3
      organized and existing under and by virtue of the laws of the State of California.
 4
      6.     At all times relevant herein, Defendant JOHN McMahon (hereinafter “McMahon”
 5

 6    or “MCMAHON”) was and is an officer, employee, and agent of the County, and is the
 7
      Sheriff for the County of San Bernardino, California (i.e., SBCSD).
 8
      7.     At all times mentioned herein, Defendants County, through its component
 9

10    departments, and McMahon, as sheriff of the SBCSD, ran, operated, trained, oversaw,
11
      administered, supervised, investigated, and were otherwise responsible for the conduct of
12
      SBCSD officers and employees, including acts and omissions of SBCSD officers,
13

14    employees and agents and other SBCSD workers.
15    8.     At all times relevant hereto, all DOE Defendants, and each of them, were acting
16
      within the course and scope of their employment as deputies, officers, detectives,
17

18    sergeants, lieutenants, captains, commanders, deputy chiefs, chiefs and/or civilian

19    employees of the SBCSD and/or a subdivision of the COUNTY and at all times were
20
      acting with permission and consent. DOE Defendants, and each of them, were
21

22
      specifically authorized by COUNTY and SBCSD to perform the duties and

23    responsibilities of sworn officers of and for the COUNTY; and all acts hereinafter
24
      complained of were performed by them within the course and scope of their duties as
25
      officers and officials for said Defendant, and its police department, and are herein sued in
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                                                   3
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                                     SECOND AMENDED COMPLAINT
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 1
      their individual capacities and in their official capacities as officers, detectives, sergeants,

 2    lieutenants, captains, commanders, deputy chiefs, chiefs, supervisors, policy makers
 3
      and/or as other employees of the SBCSD and COUNTY. Said Defendants, and each of
 4
      them, at all times relevant hereto, were acting under color of law, to wit, under the color
 5

 6    of the statutes, ordinances, regulations, policies, customs, practices and usages of the
 7
      SBCSD and COUNTY.
 8
      9.     Plaintiff is ignorant of the true names and capacities of Defendants, sued herein as
 9

10    DOES 1-10, inclusive, and therefore sues these Defendants by such fictitious names.
11
      Plaintiff will seek leave of Court amend this complaint to allege said Defendants' true
12
      names and capacities when such are ascertained. Each reference in this Complaint to
13

14    “Defendant,” “Defendants,” or a specifically named Defendant shall include reference to
15    all Defendants, including fictitiously named Defendants, unless the context indicates
16
      otherwise. Plaintiff is informed and believes and thereon alleges that each of the
17

18    fictitiously named Defendants are responsible in some manner for the occurrences herein

19    alleged, and that Plaintiff’s damages as herein alleged were proximately caused by the
20
      acts and/or omissions of said fictitiously named Defendants.
21

22
      10.    At all times relevant herein, SBCSD police officers (“OFFICERS”), sued herein as

23    DOES 1 through 10 were officers, sergeants, captains, commanders, lieutenants, and/or
24
      civilian employees supervisors and/or policy makers for the COUNTY, which employed
25

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                                      SECOND AMENDED COMPLAINT
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      unlawful, organized and illegal customs and practices of excessive force. Said

 2    misconduct was encouraged, tolerated and condoned by each of the Defendants.
 3
      11.       At all times relevant hereto, McMahon and DOES 1-10 were acting in the course
 4
      and scope of their employment as employees of COUNTY and SBCSD, and thus
 5

 6    COUNTY and SBCSD are also therefore liable for state law claims under the principle of
 7
      respondeat superior for said employees’ tortious conduct pursuant to section 815.2 and
 8
      820(a) of the California Government Code.
 9

10                       FACTS COMMON TO ALL CAUSES OF ACTION
11
      12.       Plaintiff repeats and re-alleges all prior paragraphs of this Complaint and
12
      incorporates the same herein by this reference as if those paragraphs were set forth in full
13

14    herein.
15    13.       On or about the evening of May 28, 2017, Plaintiff was operating a motor vehicle
16
      in the vicinity of Parkside Drive and Parkdale Street in the County of San Bernardino
17

18    when he was pulled over by deputies of the San Bernardino County Sheriff’s Department

19    (hereinafter “DOES 1-10”).
20
      14.       Shortly after being pulled over by DOES 1-10, those deputies ordered Plaintiff out
21

22
      of the vehicle. In the process of being detained, Plaintiff was compliant with the demands

23    of DOES 1-10 and complied with all instructions.
24
      15.       Despite Plaintiff’s respectful and compliant nature, and without provocation or
25
      justification, DOES 1-10 assaulted and battered Plaintiff, and used force in excess of
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                                                     5
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                                       SECOND AMENDED COMPLAINT
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      what was reasonable in the process of placing in handcuffs, including, but without

 2    limitation, the use of a Taser-type device on a complaint Plaintiff.
 3
      16.       As a result of these assaults and batteries committed upon Plaintiff by DOES 1-10,
 4
      Plaintiff sustained bodily injuries, including, without limitation, to his jaw, right hand,
 5

 6    chest, right knee, right leg, and left ear.
 7
      17.       Either shortly before, after, or concurrent with their inflicting the aforementioned
 8
      injuries on Plaintiff, DOES 1 through 10 placed Plaintiff under arrest and transported
 9

10    Plaintiff to San Bernardino County Jail.
11
      18.       At no time did DOES 1 through 10 inquire of Plaintiff if he required medical
12
      attention.
13

14    19.       Shortly after arrest and booking on May 28, 2017, and continuing through May 29,
15    2017, Plaintiff repeatedly requested medical attention for injuries sustained during the
16
      arrest.
17

18    20.       Plaintiff’s repeated requests for medical referral were not heeded until late in the

19    day of May 29, 2017, at which point Plaintiff was transported to Arrowhead Regional
20
      Hospital and provided medical care by the professionals at that institution.
21

22
      21.       At Arrowhead Regional Hospital, Plaintiff was provided antibiotic ointment for

23    the wounds created by the Taser-type device (where the barbs had pierced skin) and was
24
      provided with an X-ray of his jaw. The X-ray revealed, and Plaintiff was informed by
25

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                                        SECOND AMENDED COMPLAINT
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      hospital staff, that his jaw muscle joints were bruised and swollen, and resulted from the

 2    arrest of Plaintiff by DOES 1-10.
 3
      22.    Likewise, the balance of Plaintiff’s injuries were determined by the staff to be the
 4
      result of Plaintiff’s arrest by DOES 1-10.
 5

 6    23.    At all times relevant herein, Defendants County, McMahon, and SBCSD were
 7
      responsible for the training of all sheriff’s deputies and other SBCSD personnel (the DOE
 8
      defendants) in the proper application of force required in the performance of their duties.
 9

10    Defendant DOES 1-10 were trained by the County and SBCSD, at the direction, special
11
      insistence, and under the control of the County, McMahon, and the SBCSD, in the
12
      exercise of force, and in accord with the not only official policy of SBCSD, but with the
13

14    statutes, ordinances, regulations, customs, and usages of the County and the State of
15    California. Defendant SBCSD was also responsible for enforcing its internal regulations
16
      and ensuring that law enforcement personnel in its ranks obey the laws of the State of
17

18    California and the United States of America.

19    24.    Defendants County, McMahon, and SBCSD, by and through their supervisory
20
      employees, officials, executives, agents, and representatives, have been on notice through
21

22
      complaints (both formal and informal) that its deputies have repeated engaged in a

23    pattern & practice of purposefully abridging the rights, constitutional and otherwise, of
24
      persons within their jurisdiction. Despite such notice, the County, McMahon, the
25
      SBCSD, and certain DOE defendants, and each of them, demonstrated deliberate
26

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                                                   7
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                                     SECOND AMENDED COMPLAINT
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 1
      indifference to this pattern and practice of violations of rights by failing to take

 2    necessary, appropriate, or adequate measures to ensure the cessation of such conduct.
 3
      This deliberate indifference of the collective defendants amounts to an informal policy or
 4
      custom, and ratification, said policy or custom so ratified being another proximate cause
 5

 6    of Plaintiff’s injuries.
 7
      25.    Plaintiff is informed and believes, and thereon alleges that at all times relevant
 8
      Defendants County and McMahon each possessed the power and authority to adopt
 9

10    policies and prescribe rules, regulations and practices affecting all facets of the training,
11
      supervision, control, employment, assignment and removal of individual members of the
12
      SBCSD, including those individuals charges with patrolling and policing the community,
13

14    and to ensure that its employees and agents comply with the laws and constitutions of the
15    United States and the State of California.
16
      26.    Plaintiff is informed and believes, and thereon alleges that at all times relevant
17

18    Defendants County and DOES 6-10 and each of them, had the duty and responsibility to

19    ensure that their duties were carried out consistent with all the law of the United States
20
      and California, were charged with the responsibility of maintain the fitness and discipline
21

22
      of individual members of the SBCSD, including those individuals charged with patrolling

23    and policing the community, of ensuring that individual members of the SBCSD,
24
      including those individuals charged with patrolling and policing the community,
25
      complied with the policies and procedures of the County and SBCSD, of ensuring that
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                                      SECOND AMENDED COMPLAINT
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 1
      individual members of the SBCSD, including those individuals charged with patrolling

 2    and policing the community, were aware of the policies and procedures of the County
 3
      and SBCSD, of ensuring that individual members of the SBCSD, including those
 4
      individuals charged with patrolling and policing the community, were properly trained in
 5

 6    the policies and procedures of the County and SBCSD, and of ensuring that individual
 7
      members of the SBCSD, including those individuals charged with patrolling and policing
 8
      the community, complied with all laws of the United States and the State of California.
 9

10    27.    At all times mentioned herein, Defendant police officers/sheriff’s deputies of the
11
      SBCSD employed and organized unlawful and illegal customs and practices of excessive
12
      force, and intentionally causing emotional distress upon members of the community.
13

14    Plaintiff is informed and believes, and thereon alleges this misconduct was known by,
15    encouraged, tolerated and/or condoned by Defendants County, McMahon and DOES 6-
16
      10.
17

18    28.    Plaintiff is informed and believes, and thereon alleges that at all times relevant the

19    policy and custom for force maintained by the County and SBCSD was deficient.
20
      Plaintiff is further informed and believes, and thereon alleges at all times relevant these
21

22
      polices and/or customs amounted to deliberate indifference, causing Plaintiff harm as

23    alleged herein. This deliberate indifference embedded in the policies and customs of the
24
      County and SBCSD were obvious such that the constitutional injury described herein was
25
      likely to occur. The obvious deficiency is demonstrated by, inter alia: the excessive force
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                                     SECOND AMENDED COMPLAINT
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 1
     alleged herein. As a direct and legal result, Plaintiff suffered injuries as alleged herein.

 2   Plaintiff is informed believes and thereon alleges that Defendants County and DOES 1
 3
     through 10, and each of them, had ample reason to know based upon complaints, claims
 4
     for damages, similar incidents involving different victims of excessive force and like
 5

 6   issues within the previous three years, inter alia, that the County’s and SBCSD’s officers
 7
     and/or employees regularly engaged in the misdeeds set forth hereinabove, evidencing
 8
     deliberate indifference to the obviously deficient policies, customs and protocol of
 9

10   excessive force maintained by the County and SBCSD.
11
     29.    County and the SBCSD, by and through their supervisory employees and officials,
12
     have been on notice through complaints, both formal and informal, that its OFFICERS
13

14   have repeatedly engaged in a pattern and practice of purposefully abridging the rights,
15   constitutional and otherwise, of persons within their jurisdiction. Despite such notice, the
16
     County, SBCSD, and certain of the DOE Defendant OFFICERS, and each of them,
17

18   demonstrated deliberate indifference to this pattern and practice of violations of rights by

19   falling to take necessary, appropriate, or adequate measures to ensure the cessation of
20
     such conduct. This deliberate indifference of the Defendants amounts to an informal
21

22
     policy or custom, and ratification, said policy or custom ratified being another proximate

23   cause of the injury of Plaintiff.
24
     30.    On or about November 16, 2017, Plaintiff presented Defendants County and
25
     SBCSD with a claim for damages and losses sustained as a result of the incident
26

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                                     SECOND AMENDED COMPLAINT
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 1
     described in this Complaint, pursuant to Cal. Gov. Code §§905, 911.2, and 915(a).

 2   Attached and incorporated herein as reference as Exhibit “A” is a true and correct copy of
 3
     Plaintiff’s claim for damages presented to Defendants County and SBCSD.
 4
     31.       On or about December 27, 2017, Defendant County rejected Plaintiff’s claim in its
 5

 6   entirety. Attached as Exhibit “B” and incorporated herein by reference is a true and
 7
     correct copy of the notice by the County of denial of the claim.
 8
                                     FIRST CAUSE OF ACTION
 9
                                   Excessive Force (42 U.S.C. § 1983)
10                                       (Against DOES 1-10)
11
     32.       Plaintiff repeats and re-alleges all prior paragraphs of this Complaint and
12
     incorporates the same herein by this reference as if those paragraphs were set forth in full
13

14   herein.
15   33.       This action is brought pursuant to 42 U.S.C. §1983, and the Fourth and Fourteenth
16
     Amendments to the United States Constitution.
17

18   34.       On or before May 28, 2017, Plaintiff possessed the right, guaranteed by the Fourth

19   and Fourteenth Amendments to the United States Constitution, to be free from
20
     unreasonable seizures in the form of excessive use of force by police officers acting
21

22
     under the color of law.

23   35.       Plaintiff also had the clearly established Constitutional right under the Fourteenth
24
     Amendment to bodily integrity and to be free from excessive force by law enforcement.
25
     36.       On or about May 28, 2017, Defendant DOES 1-5 violated Plaintiff’s constitutional
26

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                                       SECOND AMENDED COMPLAINT
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     rights when they unlawfully, unreasonably, and without justification used excessive force

 2   by wounding Plaintiff as set forth above.
 3
     37.    Although the SBCSD sheriff’s deputies that inflicted Plaintiffs injuries were
 4
     DOES 1-5, DOES 6-10 aided and abetted DOES 1-5 in their use of excessive force and
 5

 6   participated in the excessive force against Plaintiff that resulted in Plaintiff’s injuries.
 7
     38.    The use of excessive force against Plaintiff by DOES 1-10 was entirely unjustified
 8
     by any actions of Plaintiff and was thus an unreasonable and excessive use of force.
 9

10   39.    DOES 1-10 subjected Plaintiff to the aforementioned deprivations by either actual
11
     malice, deliberate indifference, or a reckless disregard for the rights of Plaintiff under the
12
     Federal Constitution.
13

14   40.    DOES 1-10 acted at all relevant times knowing full well that the established
15   practices, customs, procedures, and policies of the County and SBCSD would allow a
16
     “cover-up” and permit the continued use of unlawful force, in violation of the Fourth and
17

18   Fourteenth Amendments to the United States Constitution, and the laws of the State of

19   California.
20
     41.    As a direct and proximate result of the acts herein alleged, Plaintiff suffered severe
21

22
     bodily injury and damages to be proven at trial. Plaintiff has suffered several bodily

23   injuries, including, without limitation, injury to his back, neck, jaw, hand, and chest, with
24
     continuing pain and suffering to his body and psyche.
25

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                                     SECOND AMENDED COMPLAINT
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     42.       As a further direct and proximate result of the forgoing, Plaintiff further suffers

 2   from depression, nightmares, mental anguish, irritability, anxiety, short-temper,
 3
     moodiness, difficulty sleeping, increased appetite, social withdrawal, tearfulness, and
 4
     anger.
 5

 6   43.       Plaintiff is also entitled to recovery reasonable costs and attorney fees under 42
 7
     U.S.C. §1988.
 8
     44.       As a direct, foreseeable, and proximate result of the alleged wrongful and unlawful
 9

10   conduct, PLAINTIFF suffered losses in earnings, loss of career opportunities, and other
11
     employment and retirement benefits, and has also incurred substantial emotional injuries
12
     as he continues to suffer embarrassment, humiliation, loss of reputation, loss of esteem
13

14   within the community, emotional pain, and mental anguish and as a result has lost
15   weight, lost sleep, wakes up in cold sweats, has severe bouts of anxiety, depression,
16
     nervousness, hyperventilation, insomnia, and the like.
17

18   45.       The aforementioned acts of DOES 1-5 were willful, wanton, malicious, and

19   oppressive, and justify the award of exemplary punitive damages as against them.
20
                             SECOND CAUSE OF ACTION
21         Excessive Force—Failure to Train Under 42 U.S.C. § 1983 (Monell Claim)
22
                                      (Against County)

23   46.       Plaintiff repeats and re-alleges all prior paragraphs of this Complaint and
24
     incorporates the same herein by this reference as if those paragraphs were set forth in full
25
     herein.
26

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                                                     13
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                                       SECOND AMENDED COMPLAINT
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 1
     47.    This cause of action is brought pursuant to 42 U.S.C. § 1983, with Plaintiff

 2   seeking to redress a deprivation under color of law of a right, privilege or immunity
 3
     secured to Plaintiff, respectively, by the First, Fourth, and Fourteenth Amendments to the
 4
     United States Constitution.
 5

 6   48.    Defendant McMahon and DOES 6-10 violated Plaintiff’s constitutional rights, as
 7
     alleged above, by among other things, failing to train as follows:
 8
     49.    Plaintiff is informed, believes and thereon alleges that each of DOES 1-10 with the
 9

10   County and SBCSD regularly engage in the misdeeds set forth above.
11
     50.    Plaintiff is informed believes and thereon alleges that Defendants County,
12
     McMahon and DOES 1 through 10, and each of them, had ample reason to know based
13

14   upon complaints, claims for damages, similar incidents involving different victims of
15   excessive force within the previous three years, inter alia, that the COUNTY’s and
16
     SBCSD’s officers and/or employees regularly engaged in the misdeeds set forth
17

18   hereinabove.

19   51.    Plaintiff is informed and believes and thereon alleges that Defendants McMahon
20
     and DOES 6 through 10, and each of them, have failed to properly train their respective
21

22
     employees, officers, subordinate officers, managers and supervisors as to the legal

23   requirements and protections applicable to persons set forth in the United States and
24
     California Constitutions, and other laws set forth in this complaint; and that such training
25
     policies of the SBCSD (and McMahon) were not adequate to train its officers/deputies to
26

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                                                  14
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                                    SECOND AMENDED COMPLAINT
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 1
     handle the usual and recurring situations with which they must deal, and as occurred in

 2   connection with PLAINTIFF;
 3
     52.    Plaintiff is informed and believes, and thereon alleges Defendants MCMAHON
 4
     and DOES 6-10, and each of them in their individual (and official) capacities, had the
 5

 6   duty, inter alia:
 7
                a. to train, supervise and instruct officers, deputies, and agent and employees
 8
                    of the County and SBCSD in the application of, inter alia, proper force in
 9

10                  connection with an arrest as to ensure the County and officers of the
11
                    SBCSD respected and did not violate the constitutional and statutory rights
12
                    of members of the community in and around the County of San Bernardino;
13

14              b. to objectively investigate:
15                        i. whether mechanisms of effecting arrest of members of the
16
                             community employed by officers of the SBCSD complied with
17

18                           appropriate protocols, or;

19                       ii. the failure to periodically monitor the quality of medical care,
20
                             attention and treatment provided to injured inmates and arrestees, or;
21

22
                         iii. the failure to comply with the statutory guidelines and regulations

23                           enacted for the protection of persons held in custodial setting;
24
                         iv. to discipline and to establish procedures to correct past violations,
25
                             and to prevent future occurrences of violation of constitutional rights
26

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                                                     15
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                                       SECOND AMENDED COMPLAINT
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 1
                           of members of the community, by not condoning, ratifying and/or

 2                         encouraging the violation of the constitutional rights of Plaintiff
 3
                           members of the community at large.
 4

 5

 6   53.    Defendants McMahon and DOES 6-10, and each of them in their individual (and
 7
     official) capacities, breached said duties by, inter alia:
 8
                a. failing to train, supervise and instruct officers, deputies and agent and
 9

10                 employees of the County and SBCSD in the application of, inter alia,
11
                   vehicular pursuit protocol, PIT maneuvers and mechanisms of arrest as to
12
                   ensure the County and officers of the SBCSD respected and did not violate
13

14                 the constitutional and statutory rights of members of the community in and
15                 around the city of Colton
16
                b. failing to investigate:
17

18                     i. whether mechanisms of effecting arrest of members of the

19                         community employed by officers of the SBCSD complied with
20
                           appropriate protocols, or;
21

22
                       ii. the failure to periodically monitor the quality of medical care,

23                         attention and treatment provided to injured inmates and arrestees, or;
24
                      iii. the failure to comply with the statutory guidelines and regulations
25
                           enacted for the protection of persons held in custodial setting;
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                                                   16
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                                     SECOND AMENDED COMPLAINT
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 1
                         iv. to discipline and to establish procedures to correct past violations,

 2                           and to prevent future occurrences of violation of constitutional rights
 3
                             of members of the community, by not condoning, ratifying and/or
 4
                             encouraging the violation of the constitutional rights of Plaintiff
 5

 6                           members of the community at large.
 7
     54.       Plaintiff is further informed and believes and thereon alleges that Defendants
 8
     McMahon and DOES 6 through 10, and each of them in their personal (and official)
 9

10   capacities, have failed to properly supervise and control the actions of their respective
11
     employees, officers, subordinate officers, managers and supervisors as to the legal
12
     requirements and protections applicable to persons set forth in the United States and
13

14   California Constitutions, and other laws set forth in this complaint.
15   55.       Plaintiff alleges that these failures are the result of deliberate indifference on the
16
     part of Defendants County and DOES 1 through 10, by each of them and through their
17

18   decision makers and subordinates, as to the rights of citizens and the obvious

19   consequences of the failure to train the SBCSD’s officers/deputies adequately.
20
     56.       The foregoing unconstitutional failures to train were a direct and legal cause of
21

22
     harm to Plaintiff; and said defendants’ failure to rain is so closely related to the

23   deprivation of PLAINTIFF’S RIGHTS as to be the moving force that caused the ultimate
24
     injury.
25

26

27
                                                      17
28
                                        SECOND AMENDED COMPLAINT
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 1
     57.    Plaintiff specifically alleges Defendants’ failure train, as described above, were

 2   within each of their control and within Defendants’ feasibility to alter, adjust and/or
 3
     correct so as to prevent some or all of all of the unlawful acts and injuries complained of
 4
     above by Plaintiff.
 5

 6   58.    As a direct and legal result of the acts alleged hereinabove, Plaintiff suffered
 7
     severe bodily injury and emotional distress.
 8
     59.    Plaintiff has been damaged as a legal result of the aforesaid acts and omissions in
 9

10   an amount to be shown according to proof at trial.
11
     60.    As a direct, foreseeable, and proximate result of the alleged wrongful and unlawful
12
     conduct, PLAINTIFF suffered losses in earnings, loss of career opportunities, and other
13

14   employment and retirement benefits, and has also incurred substantial emotional injuries
15   as he continues to suffer embarrassment, humiliation, loss of reputation, loss of esteem
16
     within the community, emotional pain, and mental anguish and as a result has lost
17

18   weight, lost sleep, wakes up in cold sweats, has severe bouts of anxiety, depression,

19   nervousness, hyperventilation, insomnia, and the like.
20
     61.    The aforementioned acts Defendants McMahon and DOES 6 to 10 were willful,
21

22
     wanton, malicious, and oppressive and justify the award of exemplary or punitive

23   damages as against McMahon and DOES 6 through 10.
24
     //
25
     //
26

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                                                    18
28
                                    SECOND AMENDED COMPLAINT
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 1
                             THIRD CAUSE OF ACTION
       Excessive Force—Supervisor Liability In Individual Capacity Under 42 U.S.C. §
 2                                         1983
                          (Against McMahon and DOES 6-10)
 3

 4   62.    Plaintiff repeats and re-alleges all prior paragraphs of this Complaint and
 5
     incorporates the same herein by this reference as if those paragraphs were set forth in full
 6
     herein (particularly those paragraphs alleged under the Second Cause of Action)
 7

 8   63.    McMahon and DOES 6-10 were the supervisors of the subordinate Defendants
 9
     DOES 1-5 who were involved in the application of excessive force against Plaintiff as
10
     alleged hereunder, and who at all times relevant herein acted under color of state law.
11

12   64.    The subordinate Defendants DOES 1-5 who were involved in the application of
13
     excessive force against Plaintiff as alleged hereunder that deprived PLAINTIFF of his
14
     rights to be free of unreasonable seizure and unreasonable excessive force in connection
15

16   with that seizure, as guaranteed under, inter alia, the Fourth and Fourteenth Amendments

17   to the United States Constitution (hereinafter sometimes referred to as “RIGHTS”).
18
     65.    McMahon and DOES 6-10:
19

20
               a. directed DOES 1-5 in said act(s) that deprived the PLAINTIFF of

21                 RIGHTS; and/or
22
               b. set in motion a series of acts by DOES 1-5 or knowingly refused to
23

24
                   terminate a series of acts by DOES 1-5 that McMahon and DOES 6-10

25                 knew or reasonably should have known would cause DOES 1-5 to deprive
26
                   the PLAINTIFF of RIGHTS; and/or
27
                                                  19
28
                                    SECOND AMENDED COMPLAINT
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 1
               c. McMahon and DOES 6-10 knew that DOES 1-5 were engaging in these

 2                 acts and knew or reasonably should have known that the subordinates’
 3
                   conduct would deprive the PLAINTIFF of these RIGHTS and the
 4
                   McMahon and DOES 6-10 failed to act to prevent DOES 1-5 from
 5

 6                 engaging in such conduct; and /or
 7
               d. McMahon and DOES 6-10 disregarded the known or obvious consequence
 8
                   that a particular training deficiency or omission would cause DOES 1-5 to
 9

10                 violate the PLAINTIFF’S RIGHTS and that said deficiency or omission
11
                   actually caused DOES 1-5 to deprive the PLAINTIFF of RIGHTS; and/or
12
               e. McMahon and DOES 6-10 engaged in conduct that showed a reckless or
13

14                 callous indifference to the deprivation by DOES 1-5 of the rights to others;
15   66.    And McMahon and DOES 6-10’s conduct was so closely related to the
16
     deprivation of the PLAINTIFF’S RIGHTS as to be the moving force that caused the
17

18   ultimate injury.

19   67.    As a direct, legal, and proximate cause of the acts alleged hereinabove,
20
     PLAINTIFF suffered severe bodily injury and emotional distress.
21

22
     68.    As a direct, foreseeable, and proximate result of the alleged wrongful and unlawful

23   conduct, PLAINTIFF suffered losses in earnings, loss of career opportunities, and other
24
     employment and retirement benefits, and has also incurred substantial emotional injuries
25
     as he continues to suffer embarrassment, humiliation, loss of reputation, loss of esteem
26

27
                                                 20
28
                                   SECOND AMENDED COMPLAINT
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 1
     within the community, emotional pain, and mental anguish and as a result has lost

 2   weight, lost sleep, wakes up in cold sweats, has severe bouts of anxiety, depression,
 3
     nervousness, hyperventilation, insomnia, and the like.
 4
     69.       The aforementioned acts of said defendants were willful, wanton, malicious, and
 5

 6   oppressive, and justify the award of exemplary punitive damages as against them.
 7
                                FOURTH CAUSE OF ACTION
 8         Excessive Force – Municipal Liability Under 42 U.S.C. § 1983 (Monell Claim)
                                        (Against County)
 9

10   70.       Plaintiff repeats and re-alleges all prior paragraphs of this Complaint and
11
     incorporates the same herein by this reference as if those paragraphs were set forth in full
12
     herein.
13

14   71.       At all relevant times, DOES 1-10 were agents and employees of Defendant
15   COUNTY, and were carrying out the acts alleged above while acting under the color of
16
     law, regulations, customs and usages of the COUNTY.
17

18   72.       Defendant COUNTY maintained an unconstitutional custom, policy or practice,

19   within the meaning of Monell v. Department of Social Services of the County of New
20
     York, 436 U.S. 658 (1978) ("Monell"), of detaining and arresting individuals with use of
21

22
     excessive and deadly force and depriving persons of life, liberty and property. Defendants

23   also maintained an unconstitutional force policy regarding the use of alternative force.
24
     Defendants COUNTY and DOES 1 through 10, and each of them, had ample reason to
25
     know based upon complaints, claims for damages, similar incidents involving different
26

27
                                                     21
28
                                      SECOND AMENDED COMPLAINT
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 1
     victims of excessive force within the previous three years, inter alia, that the COUNTY’s

 2   officers and/or employees regularly engaged in similar misdeeds as described
 3
     hereinabove.
 4
     73.    Defendants either knew or had constructive knowledge that it should arm and train
 5

 6   its law enforcement personnel in the use of alternative force (e.g., Taser-like devices,
 7
     pepper spray, pepper ball or bean bag guns, etc.).
 8
     74.    The unconstitutional policy and refusal to adequately train officers in the use of
 9

10   force, was a direct cause of Plaintiff’s injury in this matter.
11
     75.    The unconstitutional policy and refusal to adequately supervise officers in the use
12
     of force was a direct cause of Plaintiff’s injury in this matter.
13

14   76.    At the time of the excessive use of force against Plaintiff, COUNTY had in place
15   and had ratified policies, procedures, customs and practices by which the COUNTY
16
     would not discipline prosecute or in any reasonable way take corrective or responsive
17

18   action to known incidents and/or complaints of excessive force.

19   77.    More clearly, Defendants McMahon, County, and SBCSD engaged in a policy of
20
     no training whatsoever as to the use of force, including training on the use of firearms
21

22
     and tasers.

23   78.    Similarly, other than confirming attendance at work, mileage of government
24
     vehicles, reimbursement for meals, and officer/deputy attendance at court, Defendants
25
     McMahon, County, and SBCSD engaged in a policy of no supervision whatsoever
26

27
                                                    22
28
                                     SECOND AMENDED COMPLAINT
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 1
     (hereinafter “POLICY”) as to the how and when to use force, counseling and/or training

 2   of the use of force, determining which officers engaged in the use of force, following up
 3
     on any officer engagement in the use of force, the use of deadly and nondeadly weapons
 4
     and training thereon, the counseling/training on how to make lawful arrests and how to
 5

 6   avoid unlawful arrests, and the like.
 7
     79.    Defendants McMahon, County, and SBCSD were all aware of the foregoing
 8
     POLICY and sanctioned it, tolerated it, and ratified it by the continuing knowledge of it
 9

10   and the continuing commitment to keep it intact while ensuring no changes were made to
11
     it whatsoever.
12
     80.    The acts or omissions of Defendants, and each of them, as alleged above regarding
13

14   the use of excessive force were either: 1) caused by inadequate and arbitrary training
15   supervision, or discipline by the COUNTY; 2) caused by deliberate indifference of the
16
     COUNTY; 3) consistent with and done pursuant to a custom or de facto policy of the
17

18   COUNTY, or; 4) ratified by the final decision makers of the COUNTY.

19   81.    The foregoing acts, omissions and systematic deficiencies are policies and
20
     customs of the COUNTY, and as such cause the COUNTY’s law enforcement officers to
21

22
     believe that excessive use of force, against a detainee or citizen is permissible and that

23   such misconduct would not be honestly and properly investigated, all with the
24
     foreseeable result that the COUNTY’s officers would engage in violation of civil rights
25
     of citizens and residents of this state.
26

27
                                                  23
28
                                     SECOND AMENDED COMPLAINT
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 1
     82.      As a direct and proximate result of Defendants’ deprivations and violations of

 2   Plaintiff’s constitutional rights, Plaintiff has suffered general and special damages
 3
     according to proof at the time of trial.
 4
     83.      As a further direct and proximate result of the forgoing, Plaintiff further suffers
 5

 6   from depression, nightmares, mental anguish, irritability, anxiety, short-temper,
 7
     moodiness, difficulty sleeping, increased appetite, social withdrawal, tearfulness, and
 8
     anger.
 9

10   84.      Plaintiff is also entitled to recovery reasonable costs and attorney fees under 42
11
     U.S.C. §1988.
12
     85.      As a direct, foreseeable, and proximate result of the alleged wrongful and unlawful
13

14   conduct, PLAINTIFF suffered losses in earnings, loss of career opportunities, and other
15   employment and retirement benefits, and has also incurred substantial emotional injuries
16
     as he continues to suffer embarrassment, humiliation, loss of reputation, loss of esteem
17

18   within the community, emotional pain, and mental anguish and as a result has lost

19   weight, lost sleep, wakes up in cold sweats, has severe bouts of anxiety, depression,
20
     nervousness, hyperventilation, insomnia, and the like.
21

22
     86.      In committing the acts described above, Plaintiff is informed and believes that

23   Defendants acted with oppression, fraud, or malice, entitling Plaintiff to an award of
24
     punitive damages against those defendants, in an amount according to proof at time of
25
     trial.
26

27
                                                    24
28
                                      SECOND AMENDED COMPLAINT
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 1
                                 FIFTH CAUSE OF ACTION
                                            Assault
 2                         (Against County, SBCSD, and DOES 1-10)
 3
     87.    Plaintiff re-alleges and incorporates the allegations contained in the preceding
 4
     paragraphs of this complaint, as though fully set forth herein.
 5

 6   88.    As alleged in detail above, on or about May 28, 2017, Defendants DOES 1-5, and
 7
     each of them, assaulted Plaintiff by engaging in actions that intended to harm him, in
 8
     response to which Plaintiff reasonably believed that he would be harmed and was
 9

10   thereafter in fact harmed.
11
     89.    DOES 6-10 aided and abetted DOES 1-5 in the commission of their illegal acts as
12
     alleged above and thus DOES 6-10 are equally liable for those unlawful acts.
13

14   90.    Specifically, Defendants DOES 1-10, detained and arrested plaintiff, and in the
15   process therein, concurrently assaulted Plaintiff as alleged, in such a manner that
16
     reasonably caused Plaintiff to fear that he would be harmed (and, in fact, was
17

18   unreasonably harmed).

19   91.    As a direct and proximate result of the intentional acts described hereinabove,
20
     Plaintiff has been generally and specially damaged in a sum to be established according
21

22
     to proof at the time of trial, as provided in Cal. Code of Civ. Proc. §§425.10 and 425.11.

23   92.    As a further direct and proximate result of the intentional acts described
24
     hereinabove, Plaintiff has suffered severe bodily injuries including, without limitation,
25
     his back, neck, jaw, hand, and chest, which has resulted in a need for medical care, and
26

27
                                                  25
28
                                    SECOND AMENDED COMPLAINT
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 1
     continuing pain and suffering to his body and psyche. Moreover, as another direct and

 2   proximate result of the forgoing, Plaintiff further suffers from depression, nightmares,
 3
     mental anguish, irritability, anxiety, short-temper, moodiness, difficulty sleeping,
 4
     increased appetite, social withdrawal, tearfulness, and anger.
 5

 6   93.    As an additional direct, foreseeable, and proximate result of the alleged wrongful
 7
     and unlawful conduct, PLAINTIFF has suffered losses in earnings, loss of career
 8
     opportunities, and other employment and retirement benefits, and has also incurred
 9

10   substantial emotional injuries as he continues to suffer embarrassment, humiliation, loss
11
     of reputation, loss of esteem within the community, emotional pain, and mental anguish
12
     and as a result has lost weight, lost sleep, wakes up in cold sweats, has severe bouts of
13

14   anxiety, depression, nervousness, hyperventilation, insomnia, and the like.
15   94.    The wrongful acts and conduct of such Defendants, as set forth above, were
16
     conducted or occurred deliberately, intentionally, knowingly, maliciously, willfully,
17

18   wantonly, and with conscious and reckless disregard for the rights and safety of Plaintiff,

19   entitling Plaintiff to an award of exemplary damages as provided by Cal. Code of Civ.
20
     Proc. §337.34.
21

22
     95.    On the basis of the foregoing, Defendants County and SBCSD are vicariously

23   liable for the wrongful acts of Defendants, and DOES 1-10, pursuant to Cal. Gov. Code
24
     §§ 815.2 and 820(a) which provides that a public entity is liable for the injuries caused by
25

26

27
                                                  26
28
                                    SECOND AMENDED COMPLAINT
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 1
     its employees within the scope of the employment if the employees acts would subject

 2   that employ to liability.
 3
                                   SIXTH CAUSE OF ACTION
 4                           Battery (California Civil Code Section 43)
 5
                            (Against County, SBCSD, and DOES 1-10)

 6   96.    Plaintiff re-alleges and incorporates the allegations contained in the preceding
 7
     paragraphs of this complaint, as though fully set forth herein.
 8
     97.    With respect to the acts hereinabove set forth, Defendants DOES 1-5 had a duty to
 9

10   exercise reasonable care and reasonable force in connection with the stopping, seizing,
11
     and arresting of Plaintiff.
12
     98.    In committing the acts alleged hereinabove, Plaintiff was violently, wrongfully,
13

14   and intentionally battered by Defendants DOES 1-5, and each of them, as alleged in such
15
     a way as to exercise unreasonably and excessive force and thereby unreasonably injuring
16
     Plaintiff with an unlawful intent to inflict serious bodily injury—in violation of
17

18   Defendants DOES 1-5’s duty to exercise reasonable care and reasonable force.
19
     99.    Specifically, as alleged in detail above, on or about May 28, 2017, Defendants
20
     DOES 1-5 intentionally acted in such a way as to injure Plaintiff as alleged herein, while
21

22   DOES 6-10 aided and abetted DOES 1-5 in the commission of their illegal acts as

23   alleged, and thus DOES 6-10 are equally liable for those unlawful acts.
24
     100.   At all times relevant herein, Defendants DOES 1- 10 were acting in the course and
25

26
     scope of their employment as peace officers and employees of County and/or SBCSD,

27
                                                  27
28
                                    SECOND AMENDED COMPLAINT
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 1
     which are liable under principles of respondeat superior for said employees of the

 2   County and/or SBCSD, and which are liable for their employees’ tortious conduct
 3
     pursuant to section 815.2 and 820(a) of the California Government Code.
 4
     101.   It should be noted that Defendants had ample time to deliberate before using
 5

 6   unreasonable and excessive force during the arrest and subsequent injuring of Plaintiff.
 7
     102.   To be sure, a reasonable law enforcement safety officer would not have acted in
 8
     the way as alleged herein (e.g., using the substantial physical force used herein), and
 9

10   wounding Plaintiff under the same circumstances. This is particularly true because at the
11
     time of detention and arrest, Plaintiff was compliant with commands, posed no real,
12
     immediate, or significant threat of death or serious bodily injury to the Defendants or the
13

14   public. Furthermore, Plaintiff was not inherently dangerous when Plaintiffs inflicted
15   injury on Plaintiff, and there existed no need to use a Taser-like device, or excessive
16
     force to subdue a compliant Plaintiff.
17

18   103.   As a result, the use of arbitrary, unnecessary, and excessive force in detaining and

19   arresting Plaintiff was an excessive use of such force, and objectively unreasonable under
20
     the circumstances.
21

22
     104.   Plaintiff did not consent to the use of that force both prior to and during the time in

23   which Plaintiff sustained injuries as hereinabove alleged.
24
     105.   The actions of Defendants also aroused fear in the person of Plaintiff and were
25
     against his will. In committing the acts hereinabove described, Defendants subjected
26

27
                                                  28
28
                                    SECOND AMENDED COMPLAINT
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 1
     Plaintiff to unreasonable harm to his person, in violation of California Civil Code Section

 2   43.
 3
     106.   As a direct and proximate result of the intentional acts described hereinabove,
 4
     Plaintiff has suffered severe bodily injuries including, without limitation, his back, neck,
 5

 6   jaw, hand, and chest, which has resulted in a need for medical care, and continuing pain
 7
     and suffering to his body and psyche.
 8
     107.   As a further direct and proximate result of the forgoing, Plaintiff further suffers
 9

10   from depression, nightmares, mental anguish, irritability, anxiety, short-temper,
11
     moodiness, difficulty sleeping, increased appetite, social withdrawal, tearfulness, and
12
     anger. As an additional direct, foreseeable, and proximate result of the alleged wrongful
13

14   and unlawful conduct, PLAINTIFF has suffered losses in earnings, loss of career
15   opportunities, and other employment and retirement benefits, and has also incurred
16
     substantial emotional injuries as he continues to suffer embarrassment, humiliation, loss
17

18   of reputation, loss of esteem within the community, emotional pain, and mental anguish

19   and as a result has lost weight, lost sleep, wakes up in cold sweats, has severe bouts of
20
     anxiety, depression, nervousness, hyperventilation, insomnia, and the like.
21

22
     108.   The wrongful acts and conduct of DOES 1-10, as set forth above, were conducted

23   or occurred deliberately, intentionally, knowingly, maliciously, willfully, wantonly, and
24
     with conscious and reckless disregard for the rights and safety of Plaintiff, entitling
25

26

27
                                                  29
28
                                    SECOND AMENDED COMPLAINT
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 1
     Plaintiff to an award of exemplary damages as provided by Cal. Code of Civ. Proc.

 2   §337.34.
 3
     109.      The County and the SBCSD are vicariously liable for the wrongful acts of
 4
     Defendants, and DOES 1-10, pursuant to Cal. Gov. Code §§ 815.2 and 820(a), which
 5

 6   provides that a public entity is liable for the injuries caused by its employees within the
 7
     scope of the employment if the employees acts would subject that employ to liability.
 8
                                  SEVENTH CAUSE OF ACTION
 9
                                       Battery by Police Officer
10                            (Against County, SBCSD, and DOES 1-10)
11
     110.      Plaintiff repeats and re-alleges all prior paragraphs of this Complaint and
12
     incorporates the same herein by this reference as if those paragraphs were set forth in full
13

14   herein.
15
     111.      With respect to the acts hereinabove set forth, Defendants DOES 1-5 had a duty to
16
     exercise reasonable care and reasonable force in connection with the stopping, seizing,
17

18   and arresting of Plaintiff.
19
     112.      In committing the acts alleged hereinabove, Plaintiff was violently, wrongfully,
20
     and intentionally battered by Defendants DOES 1-5, and each of them, as alleged in such
21

22   a way as to exercise unreasonably and excessive force and thereby unreasonably injuring

23   Plaintiff with an unlawful intent to inflict serious bodily injury—in violation of
24
     Defendants DOES 1-5’s duty to exercise reasonable care and reasonable force.
25

26
     113.      Defendants DOES 1-5 intentionally acted in such a way as violate their duty to

27
                                                     30
28
                                      SECOND AMENDED COMPLAINT
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 1
     exercise reasonable care and reasonable force, which resulted in the injuring of Plaintiff

 2   as alleged herein, while DOES 6-10 aided and abetted DOES 1-5 in the commission of
 3
     said illegal acts as alleged, and thus DOES 6-10 are equally liable for those unlawful acts.
 4
     114.   At all times relevant herein, Defendants DOES 1- 10 were acting in the course and
 5

 6   scope of their employment as peace officers and employees of County and/or SBCSD,
 7
     which are liable under principles of respondeat superior for said employees of the
 8
     County and/or SBCSD, and which are liable for their employees’ tortious conduct
 9

10   pursuant to section 815.2 and 820(a) of the California Government Code.
11
     115.   Furthermore, Plaintiff was not inherently dangerous when Plaintiffs inflicted
12
     injury on Plaintiff, and there existed no need to use a Taser-like device, or excessive
13

14   force to subdue a compliant Plaintiff.
15   116.   To be sure, a reasonable law enforcement safety officer would not have acted in
16
     the way as alleged herein (e.g., using the substantial physical force used herein), and
17

18   wounding Plaintiff under the same circumstances because at the time Plaintiff was taken

19   into custody: (a) Plaintiff was compliant with officer commands; (b) Plaintiff posed no
20
     real, immediate, or significant threat of death or serious bodily injury to the Defendants
21

22
     or the public; (c) the severity and exigency of the alleged crime at issue had subsided and

23   Plaintiff was not inherently dangerous at the time Defendants caused Plaintiff’s injuries;
24
     (d) there existed no need to use a Taser-like device, or excessive force to subdue a
25
     compliant Plaintiff; and (e) there were several alternative means of responding to the
26

27
                                                  31
28
                                    SECOND AMENDED COMPLAINT
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 1
     situation without using deadly force.

 2   117.   As a result, the use of force by Defendants DOES 1-5 was excessive and
 3
     objectively unreasonable under the circumstances.
 4
     118.   Both prior to and during the time in which Plaintiff sustained his injuries as
 5

 6   alleged hereinabove, Plaintiff did not consent to the use of force used upon him. The
 7
     actions of Defendants also aroused fear in the person of Plaintiff and was against his will.
 8
     In committing the acts described above, Defendants subjected Plaintiff to unreasonable
 9

10   harm to his person, in violation of California law.
11
     119.   As a direct and legal result of the acts alleged above, Plaintiff suffered severe
12
     bodily injury and damages to be proven at trial. Plaintiff has suffered severe bodily
13

14   injuries including, but not limited to, injury to his back, neck, jaw, hand, and chest.
15   120.   As a further direct and proximate result of the foregoing, Plaintiff further suffers
16
     from depression, nightmares, mental anguish, irritability, anxiety, short-temper,
17

18   moodiness, difficulty sleeping, increased appetite, tearfulness and anger.

19   121.   As a further direct, foreseeable, and proximate result of the alleged wrongful and
20
     unlawful conduct, PLAINTIFF has suffered losses in earnings, loss of career
21

22
     opportunities, and other employment and retirement benefits, and has also incurred

23   substantial emotional injuries as he continues to suffer embarrassment, humiliation, loss
24
     of reputation, loss of esteem within the community, emotional pain, and mental anguish
25
     and as a result has lost weight, lost sleep, wakes up in cold sweats, has severe bouts of
26

27
                                                   32
28
                                    SECOND AMENDED COMPLAINT
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 1
     anxiety, depression, nervousness, hyperventilation, insomnia, and the like.

 2   122.   The County and the SBCSD are vicariously liable for the wrongful acts of
 3
     Defendants, and DOES 1-10, pursuant to Cal. Gov. Code §§ 815.2 and 820(a) which
 4
     provides that a public entity is liable for the injuries caused by its employees within the
 5

 6   scope of the employment if the employees acts would subject that employ to liability.
 7
     123.   The wrongful acts and conduct of DOES 1-10, as heretofore set forth, was
 8
     conducted or occurred deliberately, intentionally, knowingly, maliciously, willfully,
 9

10   wantonly, and with conscious and reckless disregard for the rights and safety of Plaintiff,
11
     entitling Plaintiff to an award of exemplary damages as against DOES 1-10.
12
                                 EIGHTH CAUSE OF ACTION
13
                                           Negligence
14                          (Against County, SBCSD, and DOES 1-10)
15
     124.   Plaintiff re-alleges and incorporates the allegations contained in the preceding
16
     paragraphs of this complaint, as though fully set forth herein.
17

18   125.   Defendants DOES 1-5 owed a duty of care to Plaintiff, including a duty to
19
     exercise discretion and use reasonable force, if any force at all was required, in detaining
20
     and arresting Plaintiff. However, Defendants DOES 1-5 failed in this duty of care when
21

22   they instead opted to engage in the use of unreasonable and excessive force—

23   particularly unreasonable on the basis Plaintiff was being compliant and non-threating,
24
     and thus little or no force would have been reasonable (which was not what happened as
25

26
     hereinabove set forth in greater detail).

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 1
     126.   As hereinabove described, Defendants DOES 1-5 intentionally acted in such a way

 2   as to injure Plaintiff through the use of substantial physical force, and therefore deprive
 3
     Plaintiff of his constitutional rights to be free of such force, while DOES 6-10 aided and
 4
     abetted DOES 1-5 in the commission of their illegal acts as alleged, and thus DOES 6-10
 5

 6   are equally liable for those unlawful acts.
 7
     127.   The County and SBCSD are similarly vicariously liable for the wrongful acts of
 8
     Defendants DOES 1-10 pursuant to Cal. Gov. Code §§ 815.2 and 820(a), which provides
 9

10   that a public entity is liable for the injuries caused by its employees within the scope of
11
     the employment if the employees acts would subject that employ to liability.
12
     128.   With respect to the force relevant herein, it cannot go unnoticed that a reasonable
13

14   law enforcement safety officer would not have utilized the substantial physical force
15   enlisted by Defendant DOES 1-5 (and aided and abetted by Defendants DOES 6-10) as
16
     alleged herein—which resulted in the substantial wounding of Plaintiff. This is
17

18   particularly true because, inter alia, at the time of detention and arrest, Plaintiff was

19   compliant with commands, posed no real, immediate, or significant threat of death or
20
     serious bodily injury to the Defendants or the public. Furthermore, Plaintiff was not
21

22
     inherently dangerous when Plaintiffs inflicted injury on Plaintiff, and there existed no

23   need to use a Taser-like device, or excessive force to subdue a compliant Plaintiff.
24
     129.   On the basis of the foregoing, it is clear that in committing and/or permitting the
25
     acts heretofore described, Defendants DOES 1-10 engaged in careless and reckless
26

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                                     SECOND AMENDED COMPLAINT
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     behavior, and/or otherwise failed to meet their duties of care (non-delegable and

 2   otherwise) they owed to Plaintiff.
 3
     130.   As a direct and proximate result of the careless acts hereinabove described,
 4
     Defendants’ unreasonable and excessive force was used in such a way as to injure
 5

 6   Plaintiff as alleged herein, which included, without limitation, injuries to Plaintiff’s back,
 7
     neck, jaw, hand, and chest, which has resulted in a need for medical care, and continuing
 8
     pain and suffering to Plaintiff’s body and psyche.
 9

10   131.   As a further direct and proximate result of the forgoing, Plaintiff additionally
11
     suffers from depression, nightmares, mental anguish, irritability, anxiety, short-temper,
12
     moodiness, difficulty sleeping, increased appetite, social withdrawal, tearfulness, and
13

14   anger. As a further direct, foreseeable, and proximate result of the alleged wrongful and
15   unlawful conduct, PLAINTIFF has suffered losses in earnings, loss of career
16
     opportunities, and other employment and retirement benefits, and has also incurred
17

18   substantial emotional injuries as he continues to suffer embarrassment, humiliation, loss

19   of reputation, loss of esteem within the community, emotional pain, and mental anguish
20
     and as a result has lost weight, lost sleep, wakes up in cold sweats, has severe bouts of
21

22
     anxiety, depression, nervousness, hyperventilation, insomnia, and the like.

23                                 NINTH CAUSE OF ACTION
24                          Intentional Infliction of Emotional Distress
                            (Against County, SBCSD, and DOES 1-10)
25

26
     132.   Plaintiff re-alleges and incorporates the allegations contained in the preceding

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                                                   35
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                                    SECOND AMENDED COMPLAINT
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 1
     paragraphs of this complaint, as though fully set forth herein.

 2   133.     The above-described acts of Defendants DOES 1-5, and each of them, were
 3
     outrageous, intentional, unlawful, malicious and committed for the express purpose of
 4
     causing Plaintiff to suffer increased mental anguish and emotional and physical distress,
 5

 6   or with reckless disregard for the probability of causing emotional distress and
 7
     represented conduct which goes beyond all possible bounds of decency.
 8
     134.     DOES 6-10 aided and abetted DOES 1-5 in the commission of their illegal acts as
 9

10   alleged above and thus DOES 6-10 are equally liable for those unlawful acts.
11
     135.     At all times relevant herein, Defendants DOES 1- 10 were acting in the course and
12
     scope of their employment as peace officers and employees of County and/or SBCSD,
13

14   which are liable under principles of respondeat superior for said employees of the
15   County and/or SBCSD, and which are liable for their employees’ tortious conduct
16
     pursuant to section 815.2 and 820(a) of the California Government Code.
17

18   136.     As a direct and proximate result of the acts described hereinabove, Plaintiff has

19   suffered severe and serious emotional distress and damages in an amount to be proven at
20
     trial.
21

22
     137.     As a direct, foreseeable, and proximate result of the alleged wrongful and unlawful

23   conduct, PLAINTIFF suffered losses in earnings, loss of career opportunities, and other
24
     employment and retirement benefits, and has also incurred substantial emotional injuries
25
     as he continues to suffer embarrassment, humiliation, loss of reputation, loss of esteem
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                                     SECOND AMENDED COMPLAINT
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     within the community, emotional pain, and mental anguish and as a result has lost

 2   weight, lost sleep, wakes up in cold sweats, has severe bouts of anxiety, depression,
 3
     nervousness, hyperventilation, insomnia, and the like.
 4
     138.   Plaintiff is informed and believes, and thereon alleges Defendants intended to
 5

 6   cause Plaintiff emotional distress. Defendants’ conduct was a substantial factor in
 7
     causing Plaintiff’s severe emotional distress.
 8
     139.   The foregoing acts by Defendants have been and continue to be done with
 9

10   oppression, fraud and malice, with the intention of depriving Plaintiff of his personal
11
     liberty, property and legal rights otherwise causing injury, and such actions were
12
     despicable conduct that subjected Plaintiff to unjust hardship in conscious disregard to
13

14   Plaintiff’s rights such that Plaintiff is entitled to recover punitive and exemplary damages
15   in addition to all actual and statutory damages to which he is entitled.
16
                                TENTH CAUSE OF ACTION
17
                           Negligent Hiring, Training, and Retention
18                (as against County, SBCSD, MCMAHON, and DOES 6-10)
19
     140.   Plaintiff re-alleges and incorporates the allegations contained in the preceding
20
     paragraphs of this complaint, as though fully set forth herein.
21

22   141.   Defendants McMahon and DOES 6-10 had a duty to exercise reasonable care in

23   connection with the hiring, supervising, training, and retention of Defendants DOES 1-5
24
     as said Defendants McMahon and DOES 6-10 were employees, managers, supervisors,
25

26
     and/or agents of Defendants County and/or SBCSD and had hired Defendants DOES 1-5.

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 1
     142.   Prior to the hiring of Defendants DOES 1-5, said defendants had a professional

 2   background that lacked qualifications to be hired as an officer/deputy. As such, as part of
 3
     their duty of care in connection with hiring, supervising, training, and retention of
 4
     employees of County and SBCSD, Defendants McMahon and DOES 6-10 should not
 5

 6   have hired any of the individual Defendants DOES 1-5, yet did so anyway.
 7
     143.   Defendants McMahon and DOES 6-10 had a duty to prevent and stop acts as
 8
     alleged herein as part of their duty to exercise reasonable care in connection with the
 9

10   hiring, supervising, training, and retention of employees of County and SBCSD. More
11
     clearly, Defendants McMahon and DOES 6-10 breached the foregoing duty by failing to
12
     hire, train, discipline, and provide (i.e., hire and retain) competent supervisors, make and
13

14   enforce rules, give proper and effective orders and discipline, direction, and training,
15   select and employ appropriate persons, and select, train, and supervise employees and
16
     agents with due care.
17

18   144.   Defendants McMahon and DOES 6-10 had this foregoing duty yet failed in that

19   duty to, inter alia, instruct their agents and employees to refrain from such acts as alleged
20
     herein; unreasonably failed to adopt rules, policies, and regulations designed to prevent
21

22
     such acts as alleged herein; unreasonably employed persons they knew, or should have

23   known, to be engaged in such acts as alleged herein; failed to properly supervise its
24
     employees to prevent these unlawful acts from occurring; stood by and took no effective
25
     action when they knew, or should have known, the subject acts were occurring; failed to
26

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                                    SECOND AMENDED COMPLAINT
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 1
     prevent these acts when they could have reasonably been prevented; authorized,

 2   encouraged, and then ratified the acts complained of herein.
 3
     145.   As part of the foregoing duty, Defendants McMahon and DOES 6-10 had an
 4
     obligation and failed in that obligation to instruct their agents and employees to refrain
 5

 6   from schemes in perpetrating such acts as alleged herein; unreasonably failed to adopt
 7
     rules, policies, and regulations designed to prevent such acts as alleged herein from
 8
     occurring; unreasonably employed persons they knew, or should have known, to be
 9

10   engaged in such acts as alleged herein; failed to properly supervise its employees to
11
     prevent these illegal acts from occurring; stood by and took no effective action when they
12
     knew, or should have known, such acts were occurring; failed to prevent such acts when
13

14   they could have reasonably been prevented; authorized, encouraged, and then ratified the
15   acts complained of herein.
16
     146.   Defendants McMahon and DOES 6-10, separately and in concert, acted
17

18   negligently and with reckless disregard and callous indifference, and such negligence

19   served to deprive Plaintiff of his rights and privileges.
20
     147.   At all times relevant herein, Defendants McMahon and DOES 6-10 were
21

22
     negligent/careless in supervising the conduct of the individual Defendants DOES 1-5

23   because they failed in their duty of due care as to such supervision, resulting in serious
24
     and severe physical and emotional injury to Plaintiff.
25

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                                    SECOND AMENDED COMPLAINT
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 1
     148.   Specifically, on or before May 28, 2017, Defendants McMahon and DOES 6-10

 2   had a duty to use care and failed in that duty in connection with the hiring, training,
 3
     supervising, employing and/or managing all individual DOES 1-5 while said Defendants
 4
     McMahon and DOES 6-10 engaged in the refusal to and careless training of SBCSD and
 5

 6   County personnel (including DOES 1-5) in techniques and policies of proper arrest,
 7
     investigation, and imprisonment of arrestees, so that they did not deprive innocent
 8
     persons of their liberty.
 9

10   149.   On or before May 28, 2017, Defendants McMahon and DOES 6-10 knew, or in
11
     the exercise of reasonable diligence should have known, that all DOES 1-5 were
12
     unskilled and unqualified to detain and arrest civilians, acting with callous disregard for
13

14   the rights and safety of the general population.
15   150.   Defendants DOES 1-5 were and became even more unﬁt for their positions to
16
     perform the work for which they were hired, as evidenced by the outrageous, severe, and
17

18   pervasive conduct alleged herein.

19   151.     Defendants McMahon and DOES 6-10 knew or should have known Defendants
20
     DOES 1-5 were and became even more unﬁt for the positions in connection with the
21

22
     performance of the work for which they were hired and that this unﬁtness created a

23   particular risk to others. Nevertheless, Defendants McMahon and DOES 6-10 created and
24
     maintained a policy, custom, and practice to continue to employ and utilize subpar
25

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 1
     performing and unfit Defendants DOES 1-5, resulting in the violations of law and

 2   Plaintiff’s injury as complained of hereunder.
 3
     152.   Despite the foregoing unfitness, Defendants McMahon and DOES 6-10
 4
     negligently/carelessly and recklessly hired, employed, supervised, disciplined, and
 5
     trained their managers, supervisors, directors, employees, vendors, service providers, and
 6
     agents who failed to prevent or timely stop the acts alleged herein by Defendants DOES
 7
     1-5.
 8
     153.   Defendants McMahon and DOES 6-10 had actual and constructive notice of: these
 9
     complained of acts; prior wrongful acts against others who complained of similar
10
     unlawful events, conditions and practices; Defendants McMahon and DOES 6-10’s prior
11

12
     negligent/careless and reckless failure to prevent and timely stop such conduct; and

13
     Defendants McMahon and DOES 6-10’s negligent/reckless failure to take effective

14
     action to prevent the complained of acts alleged hereunder.

15
     154.   All unlawful actions of Defendants DOES 1-5, as herein alleged, were known or

16
     should have been known, ratified, and/or approved by Defendants McMahon and DOES

17
     6-10; additionally, such hiring, training, and supervision by Defendants McMahon and

18
     DOES 6-10 were far below the standard of care required of the same, which then directly

19   led to the unlawful actions complained of herein; and for this reason, inter alia,

20   Defendants County and/or SBCSD are vicariously liable on the basis of Government

21   Code Sections 815, 815.2, and 820(a), and the provisions of respondeat superior

22   produced therefrom.

23   155.   With respect to the unlawful actions of Defendants DOES 1-5 (e.g., unreasonably

24   and excessive physical force), as herein alleged, it is notable that Defendants McMahon

25   and DOES 6-10, aided and abetted, encouraged and rendered substantial assistance in
26   accomplishing the wrongful conduct and their wrongful goals and other wrongdoing
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 1   complained of herein. Indeed, in taking no or substandard action, as particularized herein,
 2   to prevent known (or should have been known) unlawful conduct by Defendants DOES
 3   1-5, Defendants McMahon and DOES 6-10 did aid and abet and substantially assist the
 4   commission of these wrongful acts and other wrongdoings complained of, and each of the
 5   foregoing defendants acted with an awareness of its primary wrongdoing and realized
 6   that its conduct would substantially assist the accomplishment of the wrongful conduct,
 7   wrongful goals, and wrongdoing.
 8   156.   The unlawful acts complained of herein (including Defendant DOES 1-5
 9   unfitness), did directly and proximately cause economic injury and damage to
10   PLAINTIFF, and Defendants McMahon and DOES 6-10’s failure to meet their duty of
11   care in connection with hiring, supervising, and/or retention of Defendants DOES 1-5
12   was a substantial factor in causing PLAINTIFF’S harm.
13   157. As a direct and proximate result of the heretofore unlawful acts, including the
14   careless acts of Defendants McMahon and DOES 6-10 in connection with the breach of
15
     their duty of care as described hereinabove, Plaintiff suffered severe bodily injuries
16

17   including, without limitation, his back, neck, jaw, hand, and chest, which has resulted in a

18   need for medical care, and continuing pain and suffering to his body and psyche.
19
     158.   As a further direct and proximate result of the heretofore unlawful acts,
20

21
     PLAINTIFF has suffered losses in earnings, loss of career opportunities, and other

22   employment and retirement benefits, and has also incurred substantial emotional injuries
23
     as he continues to suffer embarrassment, humiliation, loss of reputation, loss of esteem
24
     within the community, emotional pain, and mental anguish and as a result has lost
25

26   weight, lost sleep, wakes up in cold sweats, has severe bouts of anxiety, depression,
27
                                                  42
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                                    SECOND AMENDED COMPLAINT
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 1
     nervousness, hyperventilation, insomnia, and the like. Plaintiff further suffers from

 2   depression, nightmares, mental anguish, irritability, anxiety, short-temper, moodiness,
 3
     difficulty sleeping, increased appetite, social withdrawal, tearfulness, and anger.
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                                    SECOND AMENDED COMPLAINT
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 1

 2
                                             JURY TRIAL
 3

 4   159.   Plaintiff demands a jury trial of all triable issues of fact.
 5
                                       PRAYER FOR RELIEF
 6
            THEREFORE, PLAINTIFF prays for judgment against the defendants, and each
 7
     of them alleged herein, as follows:
 8
      I.     AS AGAINST DEFENDANT COUNTY FOR THE FOLLOWING
 9
             CAUSES OF ACTION
10
            SECOND, FOURTH, AND FIFTH THROUGH TENTH
11
            1. For general and special damages, according to proof;
12
            2. Loss of income incurred and to be incurred according to proof;
13
            3. Loss of earning capacity according to proof;
14
            4. For medical and related expenses according to proof;
15
            5. For restitution of all monies due Plaintiff including, but not limited to, back
16
               pay, front pay, lost employment benefits, and other compensation according to
17
               proof;
18
            6. For compensatory and other economic damages according to proof;
19

20
            7. For prejudgment interest under Cal. Civ. Code §§ 3287 and 3288, and any

21
               other applicable statutory basis;

22
            8. For attorney’s fees and costs of suit under Code of Civ. Proc. § 1021.5, and/or

23
               as otherwise allowed by law;

24
            9. For injunctive and declaratory relief, including an order enjoining all

25
               DEFENDANTS from such acts against their employees in the future;

26
            10. For emotional distress; and

27
                                                    44
28
                                     SECOND AMENDED COMPLAINT
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 1         11. For punitive damages as allowed by law to punish defendants and deter others
 2            from engaging in similar misconduct (excluding causes of action Fifth
 3            through Tenth);
 4         12. For such other and further relief as the law provides or the Court may deem
 5            proper.
 6   II.    AS AGAINST DEFENDANT SBCSD FOR THE FOLLOWING CAUSES
 7          OF ACTION
 8         FIFTH THROUGH TENTH
 9         1. For general and special damages, according to proof;
10         2. Loss of income incurred and to be incurred according to proof;
11         3. Loss of earning capacity according to proof;
12         4. For medical and related expenses according to proof;
13         5. For restitution of all monies due Plaintiff including, but not limited to, back
14            pay, front pay, lost employment benefits, and other compensation according to
15            proof;
16         6. For compensatory and other economic damages according to proof;
17         7. For prejudgment interest under Cal. Civ. Code §§ 3287 and 3288, and any
18            other applicable statutory basis;
19         8. For attorney’s fees and costs of suit under Code of Civ. Proc. § 1021.5, and/or
20            as otherwise allowed by law;
21         9. For injunctive and declaratory relief, including an order enjoining all
22            DEFENDANTS from such acts against their employees in the future;
23         10. For emotional distress; and
24
           11. For such other and further relief as the law provides or the Court may deem
25
              proper.
26

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                                   SECOND AMENDED COMPLAINT
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 1        III.    AS AGAINST DEFENDANT MCMAHON FOR THE FOLLOWING
 2                CAUSES OF ACTION
 3               THIRD AND TENTH
 4               1. For general and special damages, according to proof;
 5               2. Loss of income incurred and to be incurred according to proof;
 6               3. Loss of earning capacity according to proof;
 7               4. For medical and related expenses according to proof;
 8               5. For restitution of all monies due Plaintiff including, but not limited to, back
 9                  pay, front pay, lost employment benefits, and other compensation according to
10                  proof;
11               6. For compensatory and other economic damages according to proof;
12               7. For prejudgment interest under Cal. Civ. Code §§ 3287 and 3288, and any
13                  other applicable statutory basis;
14               8. For attorney’s fees and costs of suit under Code of Civ. Proc. § 1021.5, and/or
15                  as otherwise allowed by law;
16               9. For injunctive and declaratory relief, including an order enjoining all
17                  DEFENDANTS from such acts against their employees in the future;
18               10. For emotional distress; and
19               11. For punitive damages as allowed by law to punish defendants and deter others
20                  from engaging in similar misconduct (excluding causes of action Fifth through
21                  Tenth);
22               12. For such other and further relief as the law provides or the Court may deem
23                  proper.
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                                         SECOND AMENDED COMPLAINT
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 1   IV.    AS AGAINST DEFENDANT DOES 1-5 FOR THE FOLLOWING
 2          CAUSES OF ACTION
 3         FIRST, AND FIFTH THROUGH NINTH
 4         1. For general and special damages, according to proof;
 5         2. Loss of income incurred and to be incurred according to proof;
 6         3. Loss of earning capacity according to proof;
 7         4. For medical and related expenses according to proof;
 8         5. For restitution of all monies due Plaintiff including, but not limited to, back
 9            pay, front pay, lost employment benefits, and other compensation according to
10            proof;
11         6. For compensatory and other economic damages according to proof;
12         7. For prejudgment interest under Cal. Civ. Code §§ 3287 and 3288, and any
13            other applicable statutory basis;
14         8. For attorney’s fees and costs of suit under Code of Civ. Proc. § 1021.5, and/or
15            as otherwise allowed by law;
16         9. For injunctive and declaratory relief, including an order enjoining all
17            DEFENDANTS from such acts against their employees in the future;
18         10. For emotional distress; and
19         11. For punitive damages as allowed by law to punish defendants and deter others
20            from engaging in similar misconduct (excluding causes of action Fifth through
21            Tenth);
22         12. For such other and further relief as the law provides or the Court may deem
23            proper.
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 1   V.    AS AGAINST DEFENDANT DOES 6-10 FOR THE FOLLOWING
 2         CAUSES OF ACTION
 3        FIRST, THIRD, AND FIFTH THROUGH TENTH
 4        1. For general and special damages, according to proof;
 5        2. Loss of income incurred and to be incurred according to proof;
 6        3. Loss of earning capacity according to proof;
 7        4. For medical and related expenses according to proof;
 8        5. For restitution of all monies due Plaintiff including, but not limited to, back
 9           pay, front pay, lost employment benefits, and other compensation according to
10           proof;
11        6. For compensatory and other economic damages according to proof;
12        7. For prejudgment interest under Cal. Civ. Code §§ 3287 and 3288, and any
13           other applicable statutory basis;
14        8. For attorney’s fees and costs of suit under Code of Civ. Proc. § 1021.5, and/or
15           as otherwise allowed by law;
16        9. For injunctive and declaratory relief, including an order enjoining all
17           DEFENDANTS from such acts against their employees in the future;
18        10. For emotional distress; and
19        11. For punitive damages as allowed by law to punish defendants and deter others
20           from engaging in similar misconduct (excluding causes of action Fifth through
21           Tenth);
22        12. For such other and further relief as the law provides or the Court may deem
23           proper.
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 1
     DATED: September 10, 2018                   THE BLUE LAW GROUP

 2                                          /s/ Michael K. Blue_______
                                                Michael K. Blue
 3
                                                Attorneys for Plaintiff
 4                                              Dominic Ray Vargas
 5

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